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 6

 7

 8                        UNITED STATES DISTRICT COURT
 9                      SOUTHERN DISTRICT OF CALIFORNIA
10
                                                      Case No.:     '21CV76     MMA MDD
11

12   MICHAEL PIERCEALL                                COMPLAINT FOR DAMAGES
                                                      FOR (1) VIOLATIONS OF THE
13                    Plaintiff,                      ROSENTHAL FAIR DEBT
                                                      COLLECTION PRACTICES ACT
14          vs.                                       (CAL. CIV. CODE §§ 1788-1778.32);
                                                      AND (2 & 3) VIOLATIONS OF THE
15   SYNCHRONY BANK,                                  TELEPHONE CONSUMER
                                                      PROTECTION ACT (47 U.S.C.
16                                                    §227)
                    Defendant,
17
                                                      JURY TRIAL DEMANDED
18

19

20                             COMPLAINT FOR DAMAGES
21                                     INTRODUCTION
22 1. MICHAEL PIERCEALL (hereinafter referred to as “Plaintiff”), by and through

23      his Counsel of record, brings this action against SYNCHRONY BANK,
24      (hereinafter referred to as “Synchrony” or “Defendant”) pertaining to actions by
25      Defendant to unlawfully collect a debt allegedly owed by Plaintiff, including but
26      not limited to, collection via the use of an Automated Telephone Dialing System
27      (“ATDS”) and/or Artificial or Prerecorded Voice in violation of the Telephone
28      Consumer Protection Act, 47 U.S.C. § 227 et seq., (“TCPA”), and the Rosenthal
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 1         Fair Debt Collection Practices Act (“RFDCPA” [Cal. Civ. C. §§ 1788-1788.32]),
 2         thereby invading Plaintiff’s privacy, and causing Plaintiff damages.
 3 2. The California legislature determined that unfair or deceptive collection practices

 4         undermine the public confidence which is essential to the continued functioning of
 5         the banking and credit system. The legislature further determined there is a need
 6         to ensure that debt collectors and debtors exercise their responsibilities to one
 7         another with fairness, honesty, and due regard for the rights of others. The
 8         legislature’s explicit purpose of enacting the Rosenthal Fair Debt Collection
 9         Practices Act of California (hereinafter “RFDCPA”) was to prohibit debt
10         collectors from engaging in unfair or deceptive acts or practices in the collection
11         of consumer debts and to require debtors to act fairly in entering into and honoring
12         such debts. 1
13 3. The Telephone Consumer Protections Act (hereinafter referred to as “the TCPA”)

14         was designed to prevent calls like the ones described within this complaint, and to
15         protect the privacy of citizens like Plaintiff. “Voluminous consumer complaints
16         about abuses of telephone technology – for example, computerized calls
17         dispatched to private homes – prompted Congress to pass the TCPA.” Mims v.
18         Arrow Fin. Servs., LLC, 132 S. Ct. 740, 744 (2012).
19 4. In enacting the TCPA, Congress specifically found that “the evidence presented to

20         Congress indicates that automated or prerecorded calls are a nuisance and an
21         invasion of privacy, regardless of the type of call . . .” Id. at §§ 12-13. See also,
22         Mims, 132 S. Ct., at 744.
23 5. As Judge Easterbrook of the Seventh Circuit explained in a TCPA case regarding

24         calls similar to this one:
25

26                  The Telephone Consumer Protection Act … is well known for its provisions
                    limiting junk-fax transmissions. A less-litigated part of the Act curtails the
27

28
     1
         CA Civil Code §§ 1788.1(a)-(b)
                                                        -2-
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 1           use of automated dialers and prerecorded messages to cell phones, whose
 2
             subscribers often are billed by the minute as soon as the call is answered—
             and routing a call to voicemail counts as answering the call. An automated
 3           call to a landline phone can be an annoyance; an automated call to a cell
 4           phone adds expense to annoyance.

 5           Soppet v. Enhanced Recovery Co., LLC, 679 F.3d 637, 638 (7th Cir. 2012)
 6

 7 6. Plaintiff makes the allegations contained herein on information and belief, except

 8     as to those allegations regarding himself, which are made on personal knowledge.
 9

10                            JURISDICTION AND VENUE
11 7. This action is based on Defendant’s violations of the RFDCPA found in California

12     Civil Code §§ 1788 - 1788.32; and the TCPA found in Title 47 of the United
13     States Code Section 227, et seq..
14 8. This Court has jurisdiction over Defendant, pursuant to 28 U.S.C. § 1331, as the

15     unlawful practices alleged herein involve a federal question under the TCPA.
16 9. This Court has jurisdiction over the Defendant, as the unlawful practices alleged

17     herein occurred in California, in the County of San Diego and violated
18     California’s Civil Code §§ 1788 - 1788.32.
19 10. This Court further has supplemental jurisdiction over Plaintiff’s California Causes

20     of action, pursuant to 28 U.S.C. § 1367(a), as Plaintiff’s California state law
21     claims are so related to Plaintiff’s Federal TCPA claims in this action, that they
22     form part of the same case or controversy.
23 11. Venue is proper in this Court, pursuant to 28 U.S.C. § 1391(b)(1)-(2), because all

24     or some of the unlawful practices and violations of law alleged herein occurred
25     and are occurring in the County of San Diego, California. Furthermore,
26     Defendant regularly conducts business within State of California, County of San
27     Diego, and Plaintiff resides in San Diego County, California.
28

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 1                                          PARTIES
 2 12. Plaintiff is, and was at all times mentioned herein, a natural person residing in

 3      the County of San Diego, in the State of California.
 4 13. Plaintiff is a natural person from whom a debt collector sought to collect a

 5      consumer debt which was due and owing or alleged to be due and owing from
 6      Plaintiff, and therefore Plaintiff is a “debtor” as that term is describe by Cal Civ.
 7      Code §1788.2(h).
 8 14. On information and belief, Defendant Synchrony is a National Banking

 9      Association. Plaintiff alleges that Synchrony Bank is, and at all times mentioned
10      herein was, chartered as a national bank, with its primary business address in
11      Utah, and doing business throughout the country, including this District.
12      Synchrony Bank is, and at all times mentioned herein was, registered with the
13      California Secretary of State.
14 15. Defendant Synchrony regularly attempts to collect through the use of mails,

15      electronic communication, and telephone, “consumer debts” allegedly owed to it,
16      as that term is defined by Cal. Civ. Code §1788.2(f).
17 16. When individuals owe Synchrony debts for regular monthly payments on

18      consumer loans and credit cards, and other similar obligations, Synchrony
19      collects on those consumer debts owed to it through the mail, electronic
20      communication, and telephone. Therefore, Synchrony is a “debt collector” as
21      that term is defined by Cal. Civ. Code §1788.2(c), and engages in “debt
22      collection” as that term is defined by Cal. Civ. Code §1788.2(b).
23 17. At all times relevant hereto, Defendant used, controlled and or operated an

24      “automatic telephone dialing system” (“ATDS”) as that term is defined by 47
25      U.S.C. § 227(a)(1) and/or placed calls to Plaintiff’s cellular telephone using an
26      automated or prerecorded voice (“Recorded Voice”) as that term is defined in 47
27      U.S.C. § 227(b)(1)(A).
28 18. Defendant is, and all times mentioned herein, was a corporation and “person,” as

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 1      that term is defined by 47 U.S.C. § 153(39).
 2   19. This case involves money, property, or their equivalent, due or owing or alleged
 3      to be due or owing from a natural person by reason of a consumer credit
 4      transaction. Thus, this action arises out of a “consumer debt” and “consumer
 5      credit” as those terms are defined by Cal. Civ. Code §1788.2(f).
 6

 7                               GENERAL ALLEGATIONS
 8   20. Plaintiff realleges and incorporates by reference all preceding paragraphs,
 9      inclusive, as if fully set forth herein.
10   21. On or about 2012, Plaintiff was issued a PayPal-branded Synchrony Credit Card
11      with account number ending: 3414, and subsequently Plaintiff was issued an
12      Amazon-branded Synchrony credit card with account number ending: 5155.
13      The two (2) aforementioned credit card accounts were issued, serviced, and
14      collected upon by Defendant Synchrony.
15   22. Plaintiff made payments toward the aforementioned Synchrony credit card
16      accounts when he took them out, and maintained good standing until October of
17      2020, when unfortunately, Plaintiff fell on financial hardship and was unable to
18      maintain the aforementioned Synchrony credit accounts’ regular monthly
19      payments.
20   23. Upon going into default on said Synchrony’s credit card accounts, agents for
21      Synchrony called Plaintiff multiple times and requested payment through the use
22      of an ATDS and/or a Recorded Voice, often 4-5 times per day, almost every
23      single day.
24 24. The aforementioned collection calls were made to Plaintiff’s cellular telephone.

25 25. Plaintiff sought out and retained an attorney to represent him with regards to the

26      debts allegedly owed to Synchrony.
27 26. On November 11, 2020, an associate attorney at Plaintiff’s Counsel’s office,

28      drafted and mailed a Cease-and-Desist letter, whereby Plaintiff’s Attorney
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 1      identified the Synchrony account ending in 3414 and stated in writing that
 2      Plaintiff was revoking consent to call him via the use of an ATDS, that that
 3      Plaintiff had retained Counsel, and that Synchrony needed to cease calling
 4      Plaintiff pursuant to the RFDCPA (“Letter”). Said Letter clearly informed
 5      Synchrony that Plaintiff was represented by Counsel, thus said Letter constituted
 6      written notice pursuant to Cal. Civ. Code §§ 1788.14(c) that Plaintiff was
 7      represented by an attorney with respect to any debt allegedly owed to or serviced
 8      by Defendant, and request was thereby made that all communications regarding
 9      alleged consumer debt(s) owed to Synchrony by Plaintiff must be directed
10      exclusively to Plaintiff’s attorney, and said Letter clearly revoked any prior
11      consent to contact Plaintiff via the use of an automated dialing system phone,
12      text, or other method, including but not limited to calls with a pre-recorded or
13      automated voice messages.
14 27. On November 13, 2020, the same associate attorney at Plaintiff’s Counsel’s

15      office, drafted and mailed a 2nd Cease and Desist letter to Synchrony at another
16      address owned and operated by Defendant for the identifying the 2nd Synchrony
17      Credit Account, whereby Plaintiff’s Attorney identified the Synchrony account
18      ending in 5155 and stated in writing that Plaintiff was revoking consent to call
19      him via the use of an ATDS, that that Plaintiff had retained Counsel, and that
20      Synchrony needed to cease calling Plaintiff pursuant to the RFDCPA (“Letter”).
21      Said Letter clearly informed Synchrony that Plaintiff was represented by
22      Counsel, thus said Letter constituted written notice pursuant to Cal. Civ. Code §§
23      1788.14(c) that Plaintiff was represented by an attorney with respect to any debt
24      allegedly owed to or serviced by Defendant, and request was thereby made that
25      all communications regarding any alleged consumer debt(s) owed to Synchrony
26      by Plaintiff must be directed exclusively to Plaintiff’s attorney, and said Letter
27      clearly revoked any prior consent to contact Plaintiff via the use of an automated
28      dialing system phone, text, or other method, including but not limited to calls
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 1      with a pre-recorded or automated voice messages.
 2 28. Despite Defendant receiving both Plaintiff’s Attorney’s Letters dated November

 3      11, 2020, and the 2nd Letter dated November 13, 2020, Defendant continued to
 4      call Plaintiff’s cellular telephone and request payments through the use of an
 5      ATDS and/or a Recorded Voice, often 4-5 times per day, almost every single
 6      day.
 7 29. Between November 11, 2020 and up through all of January of 2021, Plaintiff

 8      would pick up the phone often, yet the collection calls made by Synchrony were
 9      usually made by an automated dialer. Occasionally over that time period,
10      Plaintiff would answer his cellular telephone and there would be a live
11      representative of Synchrony on the line. On those occasions, he repeatedly
12      informed the representative of Synchrony that he had retained Counsel, and told
13      them to stop calling him.
14   30. However, despite receipt of both the November 11, 2020 Letter and the
15      November 13, 2020 Letter referenced above, as well as multiple oral notices via
16      Plaintiff that Mr. Pierceall had revoked consent to be called via an ATDS and
17      had retained counsel regarding the subject debt, representatives of Synchrony
18      have continued to call Plaintiff in excess of one-hundred (100) times on his
19      cellular telephone via the use of and ATDS and/or Pre-Recorded Voice
20      messages.
21   31. Defendant has called Plaintiff over one-hundred (100) times in total, after receipt
22      in writing and orally of notice that Plaintiff revoked any prior consent to call
23      Plaintiff via the use of an ATDS and/or Recorded Voice, notice that he had
24      retained Counsel for any debts owed to Synchrony, and an explicit warning that
25      all direct contact with Plaintiff should cease pursuant to the RFDCPA.
26   32. Further, Plaintiff spoke to agents for Synchrony on more than one occasion and
27      stated that they should not be calling him on his cellular telephone, and reiterated
28      that he had retained Counsel who had sent Cease and Desist Letters to
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 1      Synchrony.
 2 33. In said telephone calls, Plaintiff orally revoked any alleged prior consent to call

 3      Plaintiff via the use of an ATDS and/or Recorded voice. Despite said oral
 4      revocation, agents for the Defendant continued to call Plaintiff using an ATDS
 5      and/or Recorded Voice
 6 34. Despite having received Plaintiff’s letters sent to multiple addresses of

 7      Defendant, Synchrony continues to call Plaintiff to date, often multiple times per
 8      day in rapid succession, which is indicative of a computerized ATDS.
 9 35. Synchrony, or its agents or representatives, have contacted Plaintiff on his

10      cellular telephone over one-hundred (100) times since November 13, 2020,
11      including through the use of an ATDS and/or Recorded voice as those terms are
12      defined by 47 U.S.C. § 227(a)(1) and/or 47 U.S.C. § 227(b)(1)(A).
13 36. Many of the Defendant’s calls to Plaintiff after receiving the letter contained an

14      “artificial or prerecorded voice” as prohibited by 47 U.S.C. § 227(b)(1)(A).
15 37. The multiple calls made by Defendant or its agents after November 13, 2020

16      were therefore made in violation of 47 U.S.C. § 227(b)(1).
17 38. Despite receipt of Plaintiff’s Attorney’s two (2) letters sent to Defendant’s

18      corporate mailing addresses, and verbal notice from Plaintiff to cease calling
19      Plaintiff’s cellular telephone via the use of an ATDS and/or Recorded Voice, all
20      of which provided irrefutable notice that Plaintiff had revoked consent to call his
21      cellular telephone by any means and that she had retained Counsel regarding
22      these alleged debts, Defendant Synchrony continues to contact Plaintiff
23      repeatedly to date.
24

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 1                                   CAUSES OF ACTION
 2                                                 I.
 3                               FIRST CAUSE OF ACTION
 4        Violations of California Rosenthal Fair Debt Collection Practices Act
 5                           (California Civil Code § 1788.14(c))
 6   39. Plaintiff realleges and incorporates by reference all preceding paragraphs,
 7      inclusive, as if fully set forth herein.
 8   40. When Plaintiff’s Counsel sent the cease-and-desist letters to Synchrony,
 9      Defendant Synchrony was aware, or reasonably should have been aware, that
10      Plaintiff was represented by an attorney.
11   41. When Plaintiff orally stated to representatives for Synchrony that he was
12      represented by Counsel, Synchrony was aware, or reasonably should have been
13      aware, that Plaintiff was represented by an attorney, and that Plaintiff was
14      exerting his rights not to be contacted directly regarding this debt.
15   42. Cal. Civ. Code §1788.14(c) provides in relevant part,
16           No debt collector shall collect or attempt to collect a consumer debt
             by means of the following practices:
17
             (c) Initiating communications, other than statements of account,
18           with the debtor with regard to the consumer debt, when the debt
             collector has been previously notified in writing by the debtor's
19           attorney that the debtor is represented by such attorney with respect
             to the consumer debt and such notice includes the attorney's name
20           and address and a request by such attorney that all communications
             regarding the consumer debt be addressed to such attorney, unless
21           the attorney fails to answer correspondence, return telephone calls,
             or discuss the obligation in question. This subdivision shall not
22           apply where prior approval has been obtained from the debtor's
             attorney, or where the communication is a response in the ordinary
23           course of business to a debtor's inquiry.
24   43. By calling Plaintiff on his cellular phone one-hundred (100) times after receipt of
25      the letters from Plaintiff’s Counsel, Synchrony violated Cal. Civ. Code
26      §1788.14(c).
27   44. As a result of the constant collection calls by Synchrony, Plaintiff has
28      experienced anxiety, fear and uneasiness, has had difficulty sleeping, and has at
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 1      times been unable to calm down as the constant and harassing collection calls by
 2      Synchrony are overwhelming. Therefore, Plaintiff has suffered emotional
 3      distress as a result of Defendant’s violations of Cal. Civ. Code §1788.14(c).
 4

 5                                                 II.
 6                              SECOND CAUSE OF ACTION
 7                             Negligent Violations of the TCPA
 8                                    (47 U.S.C. § 227 Et. Seq.)
 9 45. Plaintiff realleges and incorporates by reference all preceding paragraphs,

10      inclusive, as if fully set forth herein.
11 46. Through the letters from Plaintiff’s Counsel, and orally, Plaintiff revoked any

12      alleged consent for Synchrony or its agents or representatives to call Plaintiff on
13      his cellular telephone via the use of an ATDS and/or Recorded Voice.
14 47. The foregoing acts and omissions of Synchrony constitutes numerous and

15      multiple negligent violations of the TCPA, including but not limited to each and
16      every one of the above-cited provisions of 47 U.S.C. § 227, et. seq.
17 48. As a result of Synchrony’s negligent violations of 47 U.S.C. §227, et. seq.,

18      Plaintiff is entitled to an award of $500 in statutory damages, for each and every
19      violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
20 49. Plaintiff is also entitled to and seeks injunctive relief prohibiting such conduct in

21      the future, pursuant to 47 U.S.C. § 227(b)(3)(A).
22

23                                            III.
24                              THIRD CAUSE OF ACTION
                      Knowing and/or Willful Violations of the TCPA
25
                                    (47 U.S.C. § 227 Et. Seq.)
26 50. Plaintiff realleges and incorporates by reference all preceding paragraphs,

27      inclusive, as if fully set forth herein.
28 51. Through the letters sent by Plaintiff’s Counsel, and oral notice from Plaintiff,

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 1       Plaintiff revoked any alleged consent for Synchrony or its agents or
 2       representatives to call Plaintiff on his cellular telephone via the use of an ATDS
 3       and/or Recorded Voice.
 4   52. The foregoing acts of Synchrony constitute numerous and multiple knowing
 5       and/or willful violations of the TCPA, including but not limited to each and
 6       every one of the above-cited provisions of 47 U.S.C. § 227, et. seq.
 7   53. Therefore, since Synchrony or its agents or representatives continued to call
 8       Plaintiff despite indisputably being informed not to call Plaintiff on multiple
 9       occasions through multiple different means, and that Plaintiff had revoked any
10       alleged prior consent to call Plaintiff’s cellular telephone via the use of an ATDS
11       and/or Recorded Voice, Synchrony’s acts were willful.
12   54. As a result of Synchrony’s knowing and/or willful violations of 47 U.S.C. §227,
13       et. seq., the Plaintiff is entitled to an award of $1,500 in statutory damages, for
14       each and every one of their over one-hundred (100) violations pursuant to 47
15       U.S.C. § 227(b)(3)(C).
16   55. Plaintiff is also entitled to and seeks injunctive relief prohibiting such conduct in
17       the future, pursuant to 47 U.S.C. § 227(b)(3)(A).
18

19                                  PRAYER FOR RELIEF
20         WHEREFORE, Plaintiff having set forth the claims for relief against
21 Defendant Synchrony herein, respectfully request this Court enter a Judgment against

22 Defendant as follows:

23 a. As to the First Cause of Action, an award of actual damages pursuant to Cal. Civ.

24     Code §1788.30(a) according to proof;
25 b. As to the First Cause of Action, an award of statutory damages of $1,000.00

26     pursuant to Cal. Civ. Code §1788.30(b);
27 c. As to the First Cause of Action, an award of reasonable attorney’s fees and costs

28     pursuant to Cal. Civ. Code §1788.30(c);
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 1 d. As to the Second Cause of Action, $500 in statutory damages for each and every

 2     one of Defendant’s negligent violations of 47 U.S.C. §227(b)(1), pursuant to 47
 3     U.S.C. § 227(b)(3)(B);
 4 e. As to the Second Cause of Action, injunctive relief prohibiting such conduct in the

 5     future pursuant to 47 U.S.C. § 227(b)(3)(A);
 6 f. As to the Third Cause of Action, $1,500.00 in statutory damages for each and

 7     every one of Defendant’s one-hundred (100) knowing and/or willful violations of
 8     47 U.S.C. § 227(b)(1) totaling in excess of $150,000.00 for said willful and/or
 9     knowing 100+ violations of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(C).
10 g. For such other and further relief as the Court may deem just and proper.

11

12 Dated: January 13, 2021                  By:     /s/ Ahren A. Tiller________
                                                    Ahren A. Tiller, Esq.
13                                                  BLC Law Center, APC
                                                    Attorneys for Plaintiff
14                                                  MICHAEL PIERCEALL
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 1                               DEMAND FOR JURY TRIAL
 2
             Pursuant to the Seventh Amendment to the Constitution of the United States of
 3
     America, Plaintiff is entitled to, and demands a trial by jury on all issues triable by
 4
     jury.
 5

 6
     Dated: January 13, 2021                  By:     /s/ Ahren A. Tiller
 7                                                    Ahren A. Tiller, Esq.
                                                      BLC Law Center, APC
 8                                                    Attorneys for Plaintiff
                                                      MICHAEL PIERCEALL
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